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                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA


    RICHARD GLOSSIP, et al.,

                                     Plaintiffs,

    v.                                                           No:      14-cv-665-F


    RANDY CHANDLER, et al.,

                                     Defendants.


    DEFENDANTS’ MOTION TO STRIKE OR DISMISS PRO SE COMPLAINT
                     AND BRIEF IN SUPPORT

         Defendants1 respectfully ask this court to strike or, alternatively, dismiss Plaintiff Wade

Lay’s “Amended Complaint,” Doc. 326. They assert four bases for this relief.

         First, the complaint exceeds the leave granted by this court. Plaintiff raised the “Eighth

Amendment” in his initial motion to join and sought “to secure his right to be protected by

this amendment, in the same manner as every other plaintiff in this case.” Doc. 304 at 2. Yet

his complaint adds several allegations that are not seeking the same protection as every other

plaintiff, such as embezzlement allegations, state officials’ interfering with his other litigation,

and fabrication of charges against him. See Doc. 326 at 10, 15. No such allegations are advanced




1 This document uses the term “Defendants” to refer to all Defendants who both (1) were
served by the other plaintiffs and (2) are represented by the undersigned counsel. Defendants
presume, based on paragraph 1 of Doc. 326, that Plaintiff Lay intended to sue the same De-
fendants as plaintiffs in Doc. 325.
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at all, let alone under the Eighth Amendment, by the other Plaintiffs. Compare Doc. 325, with

Doc. 326. Accordingly, the complaint exceeds the leave granted by this court.

        Second, Plaintiff’s complaint disavows the legal theories proffered by the other

plaintiffs. He specifically alleges that “the sovereign right of a state to take a man’s life for a

capital offense is by no provisional means exceptionalized in the United States Constitution”

and that the Eighth Amendment is “misapplied” to execution protocols. Doc. 326 at 16. He

instead asserts that the writ of habeas corpus is at issue, see Doc. 326 at ¶¶ 1-15, a legal theory

that the other plaintiffs disavow, see Doc. 325 at ¶ 7.

        Third, Plaintiff has failed to raise his additional habeas claims in the manner proscribed

by the rules. He must submit a habeas claim in the form proscribed by the rules or substantially

follow that form. See Rules Governing 2254 Cases, Rule 2(d). He would then be subject to the

timing and discovery rules appropriate to such cases. His current pleading neither uses that

form nor remotely approximates its format, instead attempting to import 2254 claims into this

case.

        Fourth, even if Plaintiff’s unrelated claims need to be heard, they should not be heard

in this case. The federal rules provide for joinder if the cases “involve a common question of

law or fact.” Fed. R. Civ. P. 42(a). None of the claims he raises in his Amended Complaint

involve a common question with the other Plaintiffs’ claims. Accordingly, because he is not

joining the other Plaintiffs’ allegations, the rules no longer support joining him as a plaintiff in

their case here.

        For these reasons, Defendants ask that this Court strike or, alternatively, dismiss

Plaintiff Wade Lay’s Complaint, Doc. 326.



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                                                         Respectfully submitted,

                                                         s/Mithun Mansinghani
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                                Counsel for Defendants


                               CERTIFICATE OF SERVICE

       I certify that on this 27th day of July 2020, I electronically transmitted the foregoing
document to the Clerk of Court using the CM/ECF system for filing and that a Notice of
Electronic Filing will be transmitted to all parties registered. I further certify that the foregoing
was transmitted via first class U.S. mail, postage pre-paid to the following non-ECF registrant:


Oklahoma State Penitentiary
Wade Lay DOC# 516263
P.O. Box 97
McAlester, OK 74502

                                                         s/Mithun Mansinghani
                                                         MITHUN MANSINGHANI




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